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4
     Terry A. Dake - 009656
5
     Attorney for Trustee
6
                        IN THE UNITED STATES BANKRUPTCY COURT
7
                             FOR THE DISTRICT OF ARIZONA
8
     In re:                            )      In Chapter 7 Proceedings
9                                      )
     MARK J. SWARTZ;                   )      Case No. 2:18-BK-07157-DPC
10                                     )
                            Debtor.    )
11                                     )

12                                 NOTICE OF HEARING

13              PLEASE TAKE NOTICE that a hearing on the trustee’s Motion To

14   Compel and the debtor’s response (Admin. Dkt. Nos. 35, 39) will be held

15   on November 1, 2018 at 10:00 a.m. before the Honorable Daniel P.

16   Collins at at the United States Bankruptcy Court, 230 North First

17   Avenue, 6th Floor, Courtroom No. 603, Phoenix, Arizona.

18              Any further pleadings regarding this matter shall be filed

19   not later than 1 week prior to the hearing.

20              DATED   October 18, 2018.

21                                      TERRY A. DAKE, LTD.

22                                      By    /s/ TD009656
                                             Terry A. Dake – 009656
23                                           20 E. Thomas Rd.
                                             Suite 2200
24                                           Phoenix, Arizona 85012-3133

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1    COPY e-mailed October 18, 2018, to:
2    KYLE A. KINNEY
     LAW OFFICES OF K YLE A. KINNEY, PLLC
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5    Email: kyle@kinneylaw.net
6     /s/ TD009656
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